          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:02CR45-4


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
PATRICK TODD BURLESON                     )
                                          )


      THIS MATTER is before the Court on the Government's amended

second motion to reduce Defendant's sentence pursuant to Rule 35(b) of

the Federal Rules of Criminal Procedure.

      For the reasons stated therein,

      IT IS, THEREFORE, ORDERED that the Government's amended

second motion is ALLOWED, and the Defendant's sentence is hereby

reduced from a term of 90 months imprisonment to a term of 78 months

imprisonment, with all other terms and conditions of the Judgment of

Conviction to remain in full force and effect. The Clerk of Court shall

prepare an amended Judgment in accordance with the terms herein.

      The Clerk is directed to transmit this Order electronically to the

United States Attorney, defense counsel, the United States Marshal, the

United States Probation Office, and to the Warden of the federal

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correctional facility where the Defendant is currently imprisoned; a copy of

the Order shall be mailed to the Defendant.

                                      Signed: May 16, 2007




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